      Case 2:16-cv-06948-ODW-PLA Document 120 Filed 02/02/18 Page 1 of 1 Page ID #:1798

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA                                      JS-6

                                    CIVIL MINUTES – GENERAL
    No.           2:16-cv-6948-ODW-PLA                                      Date   February 2, 2018
    Title         JNCO Holdings, LLC et al. v. Guotai USA Co., Ltd. et al.



    Present: The Honorable       Otis D. Wright, II, United States District Judge
                Sheila English                              Not reported                            N/A
                 Deputy Clerk                       Court Reporter / Recorder                     Tape No.
            Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                      Not present                                             Not present
    Proceedings:                                In	Chambers	


       In light of the parties’ recent Notice of Settlement (ECF No. 119), the Court DISMISSES
this action without prejudice. On or before March 20, 2018, any settling party may move to
enforce the settlement, apply to reopen the action, or stipulate to extend the deadline in which to
file such a motion or application.1 If the settling parties do not file any such motion,
application, or stipulation on or before that date, the settling parties will be deemed to have
stipulated to a dismissal of this action with prejudice. Fed. R. Civ. P. 41.

      The Court VACATES all other dates and deadlines in this action. The pending Motion
to Set Aside Default is TERMINATED WITHOUT PREJUDICE. (ECF No. 114.) The
Clerk of the Court shall close the case.



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                                                     Initials of Preparer   SE




1
  The Court expressly retains jurisdiction over this action to adjudicate any such or other filings made during
this time.


CV-90 (06/04)                              CIVIL MINUTES - GENERAL                                    Page 1 of 1
